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      1   ROBERT L. FORKNER (CSB# 166097)
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      3   PH: 209.544.0200
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      4
          ATTORNEY FOR DEFENDANT,
      5   ANTHONY FANTACONE
      6

      7

      8                           UNITED STATES DISTRICT COURT
      9                         EASTERN DISTRICT OF CALIFORNIA
     10

     11                                            ) Case No.: 1:08-CR-00224
          UNITED STATES OF AMERICA,                )
     12                                            ) STIPULATION AND ORDER TO MODIFY
                       Plaintiff,                  ) CONDITIONS OF RELEASE
     13                                            )
                vs.                                )
     14                                            )
          ANTHONY FANTACONE,                       )
     15                                            )
                       Defendant                   )
     16

     17
                IT IS HEREBY stipulated by the defendant, ANTHONY FANTACONE
     18
          through his attorney, ROBERT L. FORKNER and Plaintiff United
     19
          States of America, through its undersigned counsel, MARK E.
     20
          CULLERS, Assistant United States Attorney for the Eastern
     21
          District of California, as follows:
     22
                1. The Terms and Conditions of Release includes that the
     23
                   defendant retain employment.           Mr. Fantacone is a retired
     24
                   Sheriff and is unable to return to work.
     25
                2. Accordingly it is respectfully requested that the court
     26
                   modify the defendant’s conditions of release and vacate
     27
                   Pretrial Services’ employment condition.
     28




                                    STIPULATION & PROPOSED ORDER - 1


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      1         3. All other prior terms and conditions of release remain in

      2            full force and effect.
      3

      4
          DATED: 2/23/10                                  /s/ Robert L. Forkner
      5                                                  ROBERT L. FORKNER
                                                         ATTORNEY FOR DEFENDANT
      6                                                  ANTHONY FANTACONE
      7

      8
          DATED: 2/25/10                                /s/ Mark E. Cullers _________
      9                                                MARK E. CULLERS
                                                       ASSISTANT U.S. ATTORNEY
     10

     11

     12

     13                                          ORDER

     14
               UPON GOOD CAUSE SHOWN and the stipulation of all parties, it
     15
          is ordered.
     16

     17

     18

     19   Dated:     2/25/2010                        /s/ OLIVER W. WANGER
                                                      OLIVER W. WANGER
     20
                                                      United States District Judge
     21

     22

     23

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                                    STIPULATION & PROPOSED ORDER - 2


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